      Case 4:23-cv-02409 Document 32 Filed on 09/16/24 in TXSD Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      September 17, 2024
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk

                                HOUSTON DIVISION

HALA INANNA WALDROP,                            §
                                                §
         Plaintiff,                             §
VS.                                             § CIVIL ACTION NO. 4:23-CV-02409
                                                §
FREEDOM MORTGAGE                                §
CORPORATION,                                    §
                                                §
         Defendant.                             §

                                     FINAL JUDGMENT


       Plaintiff Hala Inanna Waldrop brought this suit against Defendant Freedom Mortgage

Corporation, in Texas state court, and Defendant then removed it to this Court. (Doc. 1.)

Defendant moved for summary judgment (Doc. 17). The Court granted Defendant’s Motion for

Summary Judgment at a hearing on September 16, 2024, for the reasons stated on the record.

       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendant Freedom Mortgage Corporation.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 16th day of September, 2024.




                                                     _______________________________
                                                     KEITH P. ELLISON
                                                     UNITED STATES DISTRICT JUDGE
